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In the United States Court of Federal Claims
                          OFFICE OF SPECIAL MASTERS

*********************
DONNA GORDON, as legal          *
representative of the estate of *                   No. 18-40V
RAY A. GORDON, decedent,        *                   Special Master Christian J. Moran
                                *
                    Petitioner, *                   Filed: April 16, 2021
                                *
v.                              *
                                *                   Attorneys’ fees and costs; reasonable
SECRETARY OF HEALTH             *                   basis; proof of vaccination.
AND HUMAN SERVICES,             *
                                *
                    Respondent. *
*********************

Sylvia Chin-Caplan, Law Office of Sylvia Chin-Caplan, LLC, Boston, MA, for
petitioner;
Heather L. Pearlman, United States Dep’t of Justice, Washington, DC, for
respondent.

  PUBLISHED DECISION DENYING ATTORNEYS’ FEES AND COSTS1

       Donna Gordon alleged that her husband, Ray Gordon, received an influenza
vaccine on January 19, 2015, and further alleged that the flu vaccine caused him to
suffer Guillain-Barré syndrome. Ms. Gordon failed to establish that Mr. Gordon
received the allegedly causal flu vaccine. Gordon v. Sec’y of Health & Human
Servs., No. 18-40V, 2019 WL 4165318 (Fed. Cl. Spec. Mstr. July 29, 2019).

      Ms. Gordon filed a motion for attorneys’ fees and costs, arguing that
because a reasonable basis supported the claim set forth in her petition, she was

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          The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Anyone will be able to access
this decision via the internet (https://www.uscfc.uscourts.gov/aggregator/sources/7). Pursuant to
Vaccine Rule 18(b), the parties have 14 days to file a motion proposing redaction of medical
information or other information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions
ordered by the special master will appear in the document posted on the website
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eligible to receive attorneys’ fees and costs as the Vaccine Act permits. The
Secretary, however, disagreed, maintaining that Ms. Gordon did not have a
reasonable basis. Adjudication of Ms. Gordon’s motion was deferred while the
Federal Circuit considered the factors contributing to an analysis of reasonable
basis. The Federal Circuit provided additional guidance in Cottingham v.
Secretary of Health & Human Services, 971 F.3d 1337 (Fed. Cir. 2020). The
parties reiterated their positions in additional briefs filed after Cottingham. The
Federal Circuit then issued another decision regarding the reasonable basis
standard in James-Cornelius v. Secretary of Health & Human Services, 984 F.3d
1374 (Fed. Cir. 2021). The parties were then afforded the opportunity submit
additional briefs in light of this most recent decision.

       Ms. Gordon does not qualify for an award of attorneys’ fees because she has
failed to establish a reasonable basis for the assertion that Mr. Gordon received the
flu vaccination. The evidence shows that Mr. Gordon refused the vaccination.

I.       Summary of Evidence Regarding Vaccination

       The primary, but not only, issue is whether Ms. Gordon presented objective
evidence that Mr. Gordon received the flu vaccine when he underwent an operation
to replace a hip in January 2019. Because the evidence concerning vaccination is
relatively limited, the relevant entries are presented in chart form:

 Item Date           Description                                        Citation
                     Following the surgery, a registered nurse
         January                                                        Exhibit 1,
     1               signed a standing order for Mr. Gordon to
         19, 2015                                                       tab A, at 4
                     receive the flu vaccine.
                     Discharge instructions: two orders for the
                     influenza vaccine (#1 and #20) note that “NO
                                                                        Exhibit 1,
         January     OCCURRENCES CHARTED” and “Patient
     2                                                                  tab A, at
         22, 2015    Refused.” For both of the orders, the discharge
                                                                        313-14.
                     instructions note “ORDER DISCONTINUED.”
                     Id.
                                                                        Exhibit 1,
         January     Discharge instructions: “Refused Flu Vaccine
     3                                                                  tab A, at
         22, 2015    (Follow up with physician or clinic).”
                                                                        360.
                                                                        Exhibit 1,
         May 13,     Box “Declines flu vaccine at this time” is
     4                                                                  tab A, at
         2015        marked.
                                                                        425

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                     Box “Previously immunized during this current
                     flu season (September 1st through March 31st)”
                     is not marked.
                     Box “Declines flu vaccine at this time” is
                     marked.
           June 15,                                                              Exhibit 1,
   5                 Box “Previously immunized during this current
           2015                                                                  tab A, at 10.
                     flu season (September 1st through March 31st)”
                     is not marked.
                     Ms. Gordon’s affidavit, attesting “While in the
           September recovery room on the day of the surgery, [Mr.               Exhibit 10 ¶
   6
           26, 2018  Gordon] received pneumonia and influenza                    4.
                     vaccines.”
                     Ms. Gordon’s second affidavit, attesting: “I
                     contacted the hospital and eventually spoke to a
                     nurse, Ms. Justino, the Risk Management
                     Coordinator of Baptist Hospital Risk
                     Management. I forwarded her a copy of the
                     standing order indicating that the flu vaccine
                     had been given. She initially told me that she
                     needed to reach out to pharmacy to verify the
                                                                                 Tab F to
                     information. When I did not hear back from
                                                                                 Pet’r’s Mot.
                     her, I called her again and was told that the
           February                                                              for
   7                 information was in the medical records. When I
           25, 2020                                                              Attorneys’
                     called her back again to discuss this further, she
                                                                                 Fees and
                     indicated that she could understand why it
                                                                                 Costs
                     appears that the flu vaccine was administered,
                     but there were notes indicating that it hadn’t
                     been given. She then added that my attorney
                     could always do discovery if needed. That was
                     the last conversation I had with Ms. Justino.
                     She did not confirm nor did she deny that the
                     flu vaccine was given as the Standing Order
                     indicates.”

       Based upon items 1-6, the Entitlement Decision found that Ms. Gordon had
not met her burden of presenting persuasive evidence that Mr. Gordon received the
flu vaccine.2 The basis of this finding was the presence of affirmative evidence

       2
        Item 7, Ms. Gordon’s second affidavit, was not filed until after the Entitlement
Decision.
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that the vaccine was not given because Mr. Gordon refused the flu vaccine.
Gordon, 2019 WL 4165318, at *3 (citing exhibit 1, tab A, at 313-14, 360 (items 2
and 3 in the above chart)).

      The Entitlement Decision considered, but did not find probative, the
information from the May and June 2015 hospitalizations (items 4 and 5 in the
above chart) because whether the hospital would offer a flu vaccine after March 31
was not clear.

       The Entitlement Decision declined to credit as persuasive evidence Ms.
Gordon’s September 26, 2018 affidavit (item 6 in the above chart). There, “Ms.
Gordon has not explained the basis for her knowledge that Mr. Gordon received
the flu vaccine.” Id. at *3. Ms. Gordon’s affidavit carried less weight than the
medical records.

      For these reasons, Ms. Gordon’s case was dismissed. Following the entry of
judgment, Ms. Gordon filed her pending motion for attorneys’ fees and costs,
which is premised upon an assertion that her claim had a reasonable basis.

II.   Procedural History

       Ms. Gordon filed her petition on January 8, 2018, alleging that her husband
suffered from GBS as a result of a flu vaccination administered on January 19,
2015. After collecting medical records over the course of multiple months, she
then filed a statement of completion on October 10, 2018.

       The Secretary then filed his Rule 4(c) report on February 25, 2019, arguing
that the medical records demonstrate Mr. Gordon did not receive the flu vaccine
alleged and that, therefore, the claim should be dismissed. In the alternative, the
Secretary also argued that even if Ms. Gordon could prove vaccination, she had not
provided persuasive evidence that Mr. Gordon suffered from GBS or that the
alleged vaccination caused GBS in Mr. Gordon.

       A status conference was held on March 18, 2019, to discuss the issue of
evidence regarding vaccination. Ms. Gordon was ordered to submit a response to
the argument in the Rule 4(c) report regarding this issue. Ms. Gordon submitted
her response on April 18, 2019, and the Secretary filed a reply on May 2, 2019.
The undersigned then issued a decision denying compensation based on the lack of
persuasive evidence regarding a record of vaccination on July 29, 2019.

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       After judgment entered, Ms. Gordon filed a motion for attorneys’ fees and
costs. The Secretary claimed a lack of reasonable basis in response. On August
31, 2020, after the Federal Circuit’s decision in Cottingham was issued on August
19, 2020, Ms. Gordon and the Secretary were allowed the opportunity to submit
supplemental briefs regarding reasonable basis, which they did on September 30,
2020, and October 26, 2020, respectively. After the decision in James-Cornelius
was issued on January 8, 2021, the parties were again afforded an opportunity to
submit supplemental briefs regarding reasonable basis in light of this new
precedent. Ms. Gordon filed her supplemental brief on March 9, 2021. The
Secretary filed his response on March 17, 2021. Thus, the matter is now ripe for
adjudication.

III.   Standards for Adjudication

       Petitioners who have not been awarded compensation (like Ms. Gordon
here) are eligible for an award of attorneys’ fees and costs when “the petition was
brought in good faith and there was a reasonable basis for the claim.” 42
U.S.C. § 300aa—15(e)(1). As the Federal Circuit has stated, “good faith” and
“reasonable basis” are two separate elements that must be met for a petitioner to be
eligible for attorneys’ fees and costs. Simmons v. Secʼy of Health & Human
Servs., 875 F.3d 632, 635 (Fed. Cir. 2017). Here, the Secretary has not raised a
challenge to Ms. Gordon’s good faith. Thus, the disputed issue is reasonable basis.

       In Cottingham, the Federal Circuit stated that the evidentiary burden for
meeting the reasonable basis standard “is lower than the preponderant evidence
standard.” Something “more than a mere scintilla” might establish the reasonable
basis standard. 917 F.3d at 1356. Petitioners meet their evidentiary burden with
“objective evidence.” Id. at 1344. In categorizing medical records as objective
evidence, the Federal Circuit stated, “[m]edical records can support causation even
where the records provide only circumstantial evidence of causation.” Id. at 1346.
Finally, the Federal Circuit in Cottingham specified that “[w]e make no
determination on the weight of the objective evidence in the record or whether that
evidence establishes reasonable basis, for these are factual findings for the Special
Master and not this court.” Id. at 1347.

       In its most recent opinion regarding the reasonable basis standard, the
Federal Circuit stated that medical records, affidavits, and sworn testimony all
constitute objective evidence to support reasonable basis. James-Cornelius v.
Sec’y of Health & Human Servs., 984 F.3d 1374, 1379-81 (Fed. Cir. 2021). The
Federal Circuit further clarified that “absence of an express medical opinion on

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causation is not necessarily dispositive of whether a claim has reasonable basis.”
Id. at 1379 (citing Cottingham, 971 F.3d at 1346). These two most recent
decisions guide the analysis regarding what types of evidence constitute objective
evidence of reasonable basis, as originally articulated in Simmons, though the
ultimate weighing of such evidence is left up to the special master.

IV.    Analysis

       Preliminarily, the outcome of the Entitlement Decision does not control the
result of Ms. Gordon’s pending motion for attorneys’ fees and costs. The
Entitlement Decision weighed the evidence according to the preponderance of the
evidence standard. However, the evidentiary standard for determining reasonable
basis is less than the preponderance of the evidence. Chuisano v. Sec’y of Health
& Human Servs., No. 07-452V, 2013 WL 6324660, at *12-13 (Fed. Cl. Spec.
Mstr. Oct. 25, 2013), mot. for rev. denied, 116 Fed. Cl. 276 (2014).

       Nevertheless, the reasoning in the Entitlement Decision regarding the weight
of the evidence remains valuable. The Entitlement Decision explained that some
evidence affirmatively showed that Mr. Gordon refused the flu vaccination. This
affirmative evidence, which is noted in more than one place in the medical records,
constitutes powerful evidence against the proposition that Mr. Gordon received the
flu vaccine.

       Against this evidence, Ms. Gordon points to the standing order. Pet’r’s
Suppl. Br., filed Sep. 30, 2020, at 1.3 However, the standing order shows that the
flu vaccine can be administered but does not show it was administered. See exhibit
1, tab A, at 4. Moreover, the associated protocol (flow chart) shows that after the
standing order has been initiated, a vaccine may not be given. Id. at 5. Ms.
Gordon’s position is that the only way for a vaccine not to be given is for a doctor
to enter an order canceling the vaccine. She infers that the lack of an order
officially canceling the flu vaccine must mean that the flu vaccine was given.
Pet’r’s Suppl. Br. at 4.

        This argument is too attenuated from the objective evidence on which
special masters must rely in finding reasonable basis. The objective evidence, as
noted above, is that Mr. Gordon refused the flu vaccination. Ms. Gordon offers
little argument to contradict the statement in the medical record that the flu vaccine

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         Ms. Gordon also attempts to argue that the medical records regarding the pneumococcal
vaccination are inconsistent. Pet’r’s Suppl. Resp. at 2. However, Ms. Gordon’s claim is based
upon the flu vaccine, not the pneumococcal vaccine.
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was refused. At best, Ms. Gordon notes that a nurse documented that Mr. Gordon
refused the flu vaccine perhaps as many as 90 minutes after he was discharged
from the hospital. Pet’r’s Suppl. Br. at 4. But, Ms. Gordon has not argued that a
nurse’s creation of a medical record perhaps 90 minutes after the event occurred
would be unreasonable.

       Beyond the medical records, Ms. Gordon also points to her second affidavit,
which was filed in support of her attempt to receive attorneys’ fees and costs.
Pet’r’s Suppl. Br. at 3, 6. While the Secretary argues that this affidavit does “not
constitute objective evidence that can be considered under the totality of
circumstances,” Resp’t’s Resp., filed Oct. 26, 2020, at 5, this argument can be set
aside for another case. Even if Ms. Gordon’s second affidavit is accepted as
constituting a form of “objective evidence” on which a special master might rely,
this evidence still does not present grounds for finding reasonable basis. Cf.
Gomez v. Sec’y of Health & Human Servs., No. 17-1800V, 2019 WL 7480769, at
*5 (Fed. Cl. Dec. 6, 2019) (reversing a finding of reasonable basis and stating that
“subjective recollections recorded in medical interviews” are “different in kind . . .
from official vaccinations records”).

      At best, Ms. Gordon’s second affidavit avers that Ms. Justino stated that Ms.
Justino could not say whether Mr. Gordon received the flu vaccination.4 But, a
neutral statement does not constitute positive evidence. Moreover, Ms. Justino’s
account that “there were notes indicating that it [the flu vaccine] hadn’t been
given” is consistent with the medical records discussed above. Thus, Ms. Justino’s
statement tends to undermine the assertion that Mr. Gordon received the flu
vaccine.

      In short, when considered as a whole, the record does not contain an
adequate ground for finding that Ms. Gordon had a reasonable basis for a basic
premise of her Vaccine Program claim---that Mr. Gordon received a covered
vaccine. Mr. Gordon’s medical records contain more than one medical record
indicating that he refused the vaccination. Ms. Gordon and her attorneys should
have been aware of this evidence before initiating the lawsuit. Cf. Spohn v. Sec’y
of Health & Human Servs., 132 F.3d 52 (table), 1997 WL 722955, at *2 (Fed. Cir.
Nov. 21, 1997) (affirming judgment dismissing petition for being filed one day


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         Rather than relying upon Ms. Gordon’s recounting of what Ms. Justino told her, Ms.
Gordon might have been better served to obtain a statement from Ms. Justino directly. However,
the undersigned assumes that Ms. Gordon’s hearsay statement accurately sets forth the
communications with Ms. Justino.
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outside the statute of limitation due to a discrepancy in medical records regarding
the date of vaccination).

       The direct statements that Mr. Gordon refused the flu vaccination weigh
heavily against a finding that Ms. Gordon possessed a reasonable basis to allege
that he received the flu vaccination. While some petitioners might fail to present
preponderant evidence regarding the receipt of vaccination and yet still satisfy the
reasonable basis standard, each case is evaluated on its evidence. And, there are
examples in which special masters have found a lack of reasonable basis due to
lack of evidence regarding vaccination. E.g., Cole v. Sec’y of Health & Human
Servs., No. 14-628V, 2015 WL 6149300 (Fed. Cl. Spec. Mstr. Sept. 14, 2015);
Cortez v. Sec’y of Health & Human Servs., No. 09-174V, 2014 WL 1604002 (Fed.
Cl. Spec. Mstr. Mar. 26, 2014) (citing cases and rejecting argument that a notation
about an “injection” conferred reasonable basis to infer that a vaccine had been
given when counsel could have investigated evidence before filing the petition);
Rydzewski v. Sec’y of Health & Human Servs., No. 99-571V, 2007 WL 949759
(Fed. Cl. Spec. Mstr. Mar. 12, 2007), cited in Sebelius v. Cloer, 569 U.S. 369, 382
n.7 (2013); see also Van Houter v. Sec’y of Health & Human Servs., No. 90-
1444V, 1992 WL 370270 (Fed. Cl. Nov. 18, 1992) (denying motion for review of
decision that denied a motion for attorneys’ fees and costs due to lack of proof of
vaccination).

       While the finding that Ms. Gordon did not present sufficient objective
evidence regarding Mr. Gordon’s receipt of the flu vaccine to satisfy the
reasonable basis standard is the reason for denying Ms. Gordon’s motion for
attorneys’ fees and costs, the Secretary has raised an additional issue. In his report
regarding entitlement to compensation, the Secretary questioned whether GBS was
an appropriate diagnosis for Mr. Gordon and the temporal relationship between the
alleged flu vaccine and the onset of the neurologic problem. Resp’t’s Rep., filed
Feb. 25, 2019. The Secretary mentioned this point in his initial response to Mr.
Gordon’s motion. Resp’t’s Obj., filed Apr. 3, 2020, at 3 n.2.

     When Ms. Gordon had an opportunity to reply, she presented a conclusory
argument. She maintained:

             The decedent, Ray Gordon, was subsequently diagnosed
             with Guillain Barre Syndrome. The development of
             Guillain Barre Syndrome six (6) weeks after
             administration of the flu vaccine, is currently a Table
             injury. There is medical literature that supports the
             development of Guillain Barre Syndrome after the
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               administration of flu vaccine within the time frame
               present in this case.

Pet’r’s Suppl. Resp. at 6-7.

       Ms. Gordon’s argument is deficient in three respects. Ms. Gordon did not
cite any medical records supporting the proposition that Mr. Gordon was
diagnosed with Guillain-Barré syndrome. Ms. Gordon did not identify when he
began to have symptoms of Guillain-Barré syndrome. Ms. Gordon did not cite and
did not file any “medical literature.”

       The Secretary contends that Mr. Gordon’s neurologic problem began “no
earlier than mid-March, 2015, at least eight weeks after the alleged vaccination.”
Resp’t’s Suppl. Br. at 6 (citing exhibit 5 at 8). The Secretary additionally argues
that Ms. Gordon “failed to provide objective evidence that onset of his GBS began
within a medically appropriate time period for causation to be inferred.” Id. Ms.
Gordon has not filed any pleading after the Secretary’s supplemental brief in which
she could have addressed this argument.

       Congress authorized special masters to award attorneys’ fees to petitioners
who present “a reasonable basis for the claim for which the petition was brought.”
42 U.S.C. § 300aa–15(e). Here, Ms. Gordon’s claim is that a flu vaccine caused
Mr. Gordon to suffer Guillain-Barré syndrome. Pet., filed Jan. 8, 2018, at
preamble. Thus, it would appear that to establish a reasonable basis “for the claim
for which the petition was brought,” Ms. Gordon would be required to point to
objective evidence supporting the assertion that Mr. Gordon received the flu
vaccine and that the flu vaccine caused his GBS.5 However, deciding this question
is not necessary when the outcome of Ms. Gordon’s motion rests upon the
independent ground that she did not present a reasonable basis for asserting that
Mr. Gordon received the flu vaccine.

V.     Conclusion

      Ms. Gordon’s eligibility for an award of attorneys’ fees and costs depends
upon her establishing a reasonable basis for the claim set forth in the petition. Ms.
Gordon has failed to present sufficient objective evidence that would ground a
finding of reasonable basis that Mr. Gordon received a flu vaccine. Accordingly,
Ms. Gordon’s motion for an award of attorneys’ fees and costs is DENIED.

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          In some cases, petitioners could benefit from a presumption of causation for injuries
listed on the Vaccine Injury Table.
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IT IS SO ORDERED.

                                        s/Christian J. Moran
                                        Christian J. Moran
                                        Special Master




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